   Case: 1:24-cv-00083 Document #: 80 Filed: 10/24/24 Page 1 of 4 PageID #:1582




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

RASHAD WALSTON, on behalf of                          Civil Case No.: 24-cv-83
himself and all others similarly situated,
                                                      District Judge: Hon. Sunil R. Harjani
                              Plaintiff,
                                                      Magistrate Judge: Jeffrey T. Gilbert
                       v.

NATIONAL RETAIL SOLUTIONS,
INC. D/B/A NRS PAY,

                              Defendant.



 PLAINTIFF’S MOTION TO ADJOURN BRIEFING ON DEFENDANT’S MOTION
                  TO DENY CLASS CERTIFICATION

       1.      On March 18, 2024, the Parties submitted a Joint Initial Status Report pursuant

to Rule 26(f). [Dkt. 12.]

       2.      Therein, the Parties jointly requested the following dates:

       Completion of Fact Discovery                   December 13, 2024
       Disclosure of Expert Report(s)                 January 17, 2025
    Disclosure of Rebuttal Expert Reports             March 15, 2025
       Deposition of Expert Witnesses                 March 31, 2025
      Class Certification Motions Due                 By April 29, 2025

       3.      On March 22, Magistrate Judge Gilbert ordered the fact discovery deadline and

expert disclosure schedule as submitted. [Dkt. 15.]

       4.      Judge Gilbert’s order was silent on the class certification deadline, but as is

clear from the joint initial status report, the Parties contemplated the completion of expert

discovery prior to class certification motions.

       5.      On September 17, Defendant indicated in a reply brief that it “needed time to

consult an ethics expert”. [Dkt. 60, p. 2.]

                                                  1
   Case: 1:24-cv-00083 Document #: 80 Filed: 10/24/24 Page 2 of 4 PageID #:1583




          6.     It was not clear whether this expert would result in a report or would simply

guide Defendant behind the scenes.

          7.     On October 16, Defendant’s counsel emailed Magistrate Judge Gilbert’s

chambers a copy of Defendant’s Motion to Deny Class Certification, including the expert

report.

          8.     This was the first time Defendant 1) disclosed the identity of its expert, 2)

indicated that it would be submitting a report, and 3) disclosed the contents of that report.

          9.     At the October 16 hearing, Magistrate Judge Gilbert expressed his own

concerns about the ripeness and timing of Defendant’s Motion to Deny, stating:

          And I will note though that fact discovery in this case I think doesn’t close until
          December 13, 2024. The culture in our district, Mr. Watstein, is that usually
          dispositive motions are not dealt with until fact discovery is concluded. … So,
          you know, I don’t know that Judge Harjani is going to take this in the normal
          course now, you know, and have it briefed with them having to respond to you
          and say, no, class should be certified. And then they only get one brief on class
          certification.

Ex. A.

          10.    On October 18, Defendant filed its Motion, Dkt. 76, and its expert report, Dkt.

76-3.

          11.    Defendant’s disclosure was not untimely—January 17, 2025 has not passed—

but, in conjunction with the current briefing schedule (Plaintiff’s opposition is due November

1), Dkt. 79, it deprives Plaintiff of his opportunity to obtain a rebuttal expert (by March 15,

2025) and/or to depose Defendant’s (by March 31, 2025).

          12.    While Courts must decide class certification “[a]t an early practicable time”,

Fed. R. Civ. P. 23(C)(1)(A), it should only do so prior to Plaintiff’s Motion “if it thinks that

additional discovery would not be useful in resolving the class determination.” Kasalo v. Harris

& Harris, Ltd., 656 F.3d 557, 563 (7th Cir. 2011).
                                                  2
     Case: 1:24-cv-00083 Document #: 80 Filed: 10/24/24 Page 3 of 4 PageID #:1584




       13.       Here, the Court’s current schedule expressly affords Plaintiff the opportunity to

depose and rebut Defendant’s expert, upon whom Defendant’s Motion relies.

       14.       Additional discovery is both contemplated and would be useful to explore,

rebut, and challenge the claims made by Defendant’s expert.

       15.       Plaintiff believes Defendant’s Motion has no merit, and its expert’s opinions

are subject to a Motion to Strike, but Plaintiff should not be required to make his opposition

or Motion to Strike without the rebuttal and deposition opportunities the operative scheduling

order affords.

       16.       Accordingly, Plaintiff requests that briefing on Defendant’s Motion be

adjourned until Plaintiff has had the agreed-upon opportunity to obtain a rebuttal expert

and/or to depose Defendant’s expert on the deadlines set forth in the scheduling order.

       17.       Alternatively, the Court should deny Defendant’s Motion without prejudice as

premature, and consider its arguments in the ordinary course of class certification. See, e.g.

Thomas v. Sheahan, 370 F. Supp. 2d 704, 714 (N.D. Ill. 2005); Lucas v. Gold Standard Baking,

Inc., 2015 WL 14046946, *2 (N.D. Ill. Feb. 26, 2015).

       18.       Plaintiff sought Defendant’s consent to the instant Motion, but it declined. Ex.

B.

       19.       Plaintiff requested an alternative proposal from Defendant, but it did not

provide one prior to Plaintiff filing this Motion. Id..

       WHEREFORE, Plaintiff moves to adjourn Defendant’s Motion until Plaintiff has had

the opportunity to obtain a rebuttal expert and/or to depose Defendant’s on the deadlines set

forth in the scheduling order; or alternatively, that the Court deny Defendant’s Motion,

without prejudice, as premature.


                                                 3
   Case: 1:24-cv-00083 Document #: 80 Filed: 10/24/24 Page 4 of 4 PageID #:1585




Dated: October 24, 2024                       s/ Jeremy M. Glapion
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